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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN


 UNITED STATES OF AMERICA,
        Plaintiff,
                                                                Hon. Paul L. Maloney
 v.
                                                                Case No. 1:16-cr-00036
 DEMARIO DARELL HAIRSTON,
        Defendant.
 ________________________________/

                           REPORT AND RECOMMENDATION

       Pursuant to W.D. Mich. L.Cr.R. 11.1, I conducted a plea hearing in the captioned

case on July 8, 2016, after receiving the written consent of defendant and all counsel. At

the hearing, defendant Demario Darell Hairston entered a plea of guilty to Count Two of

the Second Superseding Indictment in exchange for the undertakings made by the

government in the written plea agreement. In Count Two of the Second Superseding

Indictment, defendant is charged with attempted possession with intent to distribute

cocaine in violation of 21 U.S.C. §§ 846, 841(a) and 841(b)(1)(C). On the basis of the

record made at the hearing, I find that defendant is fully capable and competent to enter

an informed plea; that the plea is made knowingly and with full understanding of each of

the rights waived by defendant; that it is made voluntarily and free from any force, threats,

or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea

has a sufficient basis in fact.
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       I therefore recommend that defendant's plea of guilty to Count Two of the Second

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that

the written plea agreement be considered for acceptance at the time of sentencing.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.


Date: July 8, 2016                                       /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         U.S. Magistrate Judge


       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure

to file objections within the specified time waives the right to appeal the District Court’s

order. Thomas v. Arn, 474 U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947,

949-50 (6th Cir. 1981).




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